
Upon consideration of the Verified Petition for Reinstatement filed pursuant to Maryland Rule 19-751 by Jing Tan, an attorney not admitted to practice law by *870this Court but suspended from practicing in Maryland for sixty (60) days by Order dated September 22, 2016, and the response of Bar Counsel to said petition, it is this 16th day of December, 2016,
ORDERED, by the Court of Appeals of Maryland, that the petition should be, and hereby is, GRANTED; and it is further
ORDERED, that the Clerk of this Court is directed, in accordance with Rule 19-751(g)(2), to remove the petitioner's name from the list maintained in this Court of non-admitted attorneys who are ineligible to practice law in this State and to certify that fact to the Board of Law Examiners and the clerks of all courts in the State.
